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                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                              MIAMI-DADE DIVISION


                                       CASE NO.: 1:19-cv-21893-XXXX


 PERRY W. HODGES, as Personal Representative
 of the Estate of NISHA SEJWAL, deceased

                   Plaintiff,

 v.

 THE UNITED STATES OF AMERICA,

                   Defendant.

 _____________________________________/

                                                         COMPLAINT

          PLAINTIFF, PERRY W. HODGES, as Personal Representative of the Estate of NISHA

 SEJWAL, deceased, by and through his undersigned counsel, sues the Defendant, THE UNITED STATES

 OF AMERICA, and alleges as follows:

                                               GENERAL ALLEGATIONS

      1. This is an action for damages in excess $75,000.00, exclusive of costs, interest and attorney’s fees

          and is otherwise within the jurisdictional limits of this court.

      2. The Court has exclusive jurisdiction of this action against the Defendant, THE UNITED STATES

          OF AMERICA, pursuant to the Federal Tort Claims Act, 28 USC § 1346 (b) and 28 USC §§ 2671-

          2680, and under 28 USC § 1331.




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                       100 SE 6th Street, Fort Lauderdale, FL 33301* TEL (954) 767-6500 * FAX (954) 766-2690
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    3. At all times material hereto, the Plaintiff, PERRY W. HODGES, is a resident of Florida and is the

       appointed Personal Representative of the Estate of NISHA SEJWAL, deceased, and is entitled to

       bring this claim on behalf of the Estate and all survivors pursuant to the Florida Wrongful Death

       Act, Section 768.16 et seq.

    4. At all times material herein, CHHOTU RAM SEJWAL, was the father of Decedent, NISHA

       SEJWAL.

    5. At all times material herein, SURESH, was the mother of Decedent, NISHA SEJWAL.

    6. The potential beneficiaries of the Estate of NISHA SEJWAL, are as follows:

             a. The Estate of NISHA SEJWAL;

             b. CHHOTU RAM SEJWAL, father of Decedent;

             c. SURESH, mother of Decedent.

    7. On July 17, 2018, Decedent, NISHA SEJWAL (hereinafter “NS”), was a resident of Miami-Dade

       County, Florida.

    8. At all times material, Defendant, THE UNITED STATES OF AMERICA (hereinafter “Defendant”),

       through its agency and/or instrumentality, the FEDERAL AVIATION ADMINISTRATION (“FAA”),

       was responsible for air traffic control services as it pertains to pilots operating under Visual Flight

       Rules (“VFR”).

    9. Venue is proper in the Southern District of Florida under 28 U.S.C. §§ 89(c),1391(e) and 1402(b)

       because a substantial part of the acts and/or omissions giving rise to the Plaintiff’s claims

       occurred in the FAA’s Tamiami Airport Traffic Control Tower located in Miami-Dade County,

       Florida.




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    10. On September 28, 2018, Plaintiff timely presented his administrative claims for damages to the

        FAA pursuant to the provisions of 28 U.S.C. § 2675. The FAA has made a final disposition of the

        claim, which claimant deems to be a final denial for purposes of 28 U.S.C. § 2675.

    11. As set forth in said administrative claim, on July 17, 2018, Decedent NS was a student pilot, under

        the direct supervision of an FAA Designated Pilot Examiner, piloting a Piper PA-34-200,

        registration number N16281 (“N16281”) and both were in communication with air traffic control as

        they prepared to depart Miami Executive Airport (TMB), Miami-Dade County, Florida.

    12. At 16:52:21 UTC, the tower controller instructed Piper PA-34-200, N16281 to make a left turn after

        departure and to follow a Cessna aircraft (ADF9GC), that had departed runway 9 Left ahead of

        N16281.

    13. The Piper PA-34-200, N16281 was en route to a training area northwest of the airport at or below

        an altitude of 2,000 feet to remain clear of the Miami Class B airspace.

    14. Tamiami Airport Traffic Control Tower was authorized to issue traffic advisories to all aircraft in its

        Class D airspace as well as arriving aircraft that are landing at the Miami Executive Airport or other

        traffic that was a factor to aircraft in contact with the tower.

    15. At approximately 16:57:14 UTC to 16 59:10 UTC on July 17, 2018, the respective position

        coordinates and altitude of N16281 and N6428D were available and obvious to Tamiami Airport

        Traffic Control Tower.

    16. N6428 was at an altitude at or below 2000 feet en route back from a training area.

    17. At 1659:16 UTC, the pilot of Cessna 172N, N6428D contacted Tamiami Airport Traffic Control

        Tower.

    18. At no time did Tamiami Airport Traffic Control Tower issue any traffic information and/or traffic alert

        to N16281 or N6428D.

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    19. At no time did Tamiami Airport Traffic Control Tower advise/instruct N16281 or N6428D to turn, to

        climb, and/or to avoid an impending collision.

    20. At 16:59:30 N16281 and N6428D were involved in a fatal mid-air collision; four persons lost their

        lives, including NS.

    21. The FAA is an agency of the United States Department of Transportation and through its officers,

        employees and agents exercises sole and exclusive control of all aircraft operating within the

        controlled airspace of the United States and of all airports with an operating control tower.

    22. On July 17, 2018, N16281 was operating within controlled airspace and was under the exclusive

        control and authority of the FAA through its officers, employees and agents. FAA controllers at

        Tamiami Airport Traffic Control Tower had access to radar data which identified N16281, its

        altitude, airspeed and aircraft make and model.

    23. The United States, through its agency and/or instrumentality, the FAA, had a duty to NS to exercise

        due care to disseminate accurate and complete information.

    24. The United States, through its agency and/or instrumentality, the FAA, had a duty to exercise due

        care to disseminate accurate traffic information and safety alerts to N16281 during its flight.

    25. On July 17, 2018 the Defendant, through its officers, employees, and agents at the FAA, including,

        but not limited to the Tamiami Airport traffic control tower, its controllers and their supervisors in

        radio and radar contact with N16281, carelessly and negligently failed to follow mandatory and

        applicable Federal Aviation Regulations (“FARS”) and FAA procedures and orders governing flight

        services and air traffic control operations, and otherwise failed to provide adequate and proper air

        traffic control services to N16281, by among other things, failing to properly observe and

        disseminate accurate, complete and current information relevant and pertinent to N16281.




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    26. The negligent acts and omissions of the Defendant, through its agency and/or instrumentality, the

        FAA, caused and/or contributed to this fatal crash.

    27. As a direct and proximate cause of the Defendant’s failures, N16281 crashed in the Everglades in

        Miami-Dade County, Florida, resulting in the death of NS.

    28. The crash and any alleged damage or loss sustained by Plaintiff was caused in whole or in part by

        the careless, negligent or wrongful acts or omissions of the Defendant, through its agency and/or

        instrumentality, the FAA.

    29. As a direct and proximate result of the crash, and consequent death of NS, Perry W. Hodges

        brings this action under the Federal Tort Claims Act and/or whatever law this Court deems

        appropriate, and claims all damages to which the Estate of NISHA SEJWAL is entitled pursuant to

        Section 768.21, Florida Statutes.

    30. As a direct and proximate result of the wrongful death of NS, the Decedent’s Estate has suffered

        the following damages:

            a. For the Estate of NISHA SEJWAL:

                    1. Loss of prospective net accumulations of the estate reduced to present value.

                    2. Funeral expenses due to Decedent’s injuries and death which have become a

                         charge against the estate.

            b. For the father of the decedent, CHHOTU RAM SEJWAL:

                    1. Mental pain and suffering in the past and in the future.

                    2. Any other damages which are recoverable pursuant to the Florida Wrongful Death

                         Act or common law of the State of Florida.

            c. For the mother of the decedent, SURESH:

                    1. Mental pain and suffering in the past and in the future.

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                      2. Any other damages which are recoverable pursuant to the Florida Wrongful Death

                          Act or common law of the State of Florida.

         WHEREFORE, the Plaintiff, PERRY W. HODGES, as Personal Representative of the ESTATE

 OF NISHA SEJWAL, deceased, demands judgment against Defendant, THE UNITED STATES OF

 AMERICA, for damages, as set forth in Section 768.21, Florida Statutes, in a sum in excess of $75,000.00,

 together with the costs of suit, and such further relief as this Court deems just and proper.

         Dated this 10th day of May, 2019.

                                                          Respectfully submitted,

                                                          MONTERO LAW CENTER
                                                          Attorneys for Plaintiff
                                                          100 SE 6th Street
                                                          Ft. Lauderdale, Florida 33301
                                                          Tel: (954) 767-6500
                                                          Facsimile: (954) 766-2690

                                                          By:/s/Hyram M. Montero
                                                          HYRAM M. MONTERO, P.A.
                                                          Fla. Bar No. 339660
                                                          hmontero@monterolaw.com




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                                                   * MONTERO LAW CENTER *
                     100 SE 6th Street, Fort Lauderdale, FL 33301* TEL (954) 767-6500 * FAX (954) 766-2690
